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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

  UNITED STATES OF AMERICA

  VS.                                              CASE NO: 6:20-cr-97-GAP-LRH

  JOEL MICAH GREENBERG


            ACCEPTANCE OF GUILTY PLEA AND ADJUDICATION OF GUILT

        Pursuant to the Report and Recommendation of the United States Magistrate

  Judge (Doc. 109), to which there has been no timely objection, the plea of guilty of the

  defendant to Counts One, Eight, Nine, Fourteen, Twenty-four, and Twenty-six of the

  Third Superseding Indictment is now accepted and the defendant is adjudged guilty

  of such offenses. A sentencing hearing will be scheduled under separate notice.

        DONE and ORDERED at Orlando, Florida this June 3, 2021.




  Copies furnished to:

  United States Marshal
  United States Attorney
  United States Probation Office
  United States Pretrial Services Office
  Counsel for Defendant
